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                             UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


ABC CORPORATION I,                            )
ABC CORPORATION II,                           )
                                              )
                       Plaintiffs,            )
                                              )   Case No. 1:20-cv-4806
       v.                                     )
                                              )   Judge Thomas M. Durkin
THE PARTNERSHIPS AND                          )
UNINCORPORATED ASSOCIATIONS                   )   Magistrate Judge Jeffrey Cole
IDENTIFIED ON SCHEDULE A,                     )
                                              )
                       Defendants.            )
                                              )
                                              )



                                 MOTION TO WITHDRAW AS COUNSEL

       NOW COMES Yu-Hao Yao attorney of record for Defendant Gyroor-US (“Defendant” or

“Gyroor-US”) and third-party respondents Gyroor, Urbanmax, GaodeshangUS, Fengchi-US,

Gyroshoes, and HGSM (collectively, “Third-Party Respondents”), and for his Motion to Withdraw

as Counsel, states as follows:

       1. Yu-Hao Yao is no longer associated with Glacier Law LLP

       2. The remaining counsel from Glacier Law LLP will continue to represent the Defendants

            in these proceedings.

       3. The withdrawal will neither prejudice Defendants nor delay the proceedings.


       WHEREFORE, Yu-Hao Yao respectfully requests that this Court grant his motion to

withdraw as counsel for Defendants.
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Date: 12/01/2023                        /s/ Yu-Hao Yao
                                        Yu-Hao Yao, Esq
                                        GLACIER LAW LLP
                                        251 South Lake Ave, Suite 910
                                        Pasadena, CA 91101
                                        mickey.yao@glacier.law
                                        323-546-6766
                                        Attorneys for Defendants




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this December 1, 2023, I electronically filed the foregoing

file with the Clerk of Court using the CM/ECF system, and service was perfected on all counsel

of record and interested parties through this system, which will deliver a true and correct copy of

the foregoing documents via CM/ECF.




 Date: 12/01/2023                                /s/ Yu-Hao Yao




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